                                 UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF OREGON


In re                                           )
                                                ) Case No. 14-37053-PCM13
   MARK A DENNEY                                )
                                                )      NOTICE AND MOTION TO DISMISS
                                                )      FOR FAILURE TO COMPLETE PLAN
                                                )      WITHIN SIXTY (60) MONTHS
                       Debtor(s).               )

                                    NOTICE OF MOTION TO DISMISS

        If you oppose the proposed relief sought in this motion, you must file a written objection with the
bankruptcy court no later than 14 days after the date listed in the certificate of service below. If you do not
file an objection, the court may grant the motion without further notice or hearing. Your objection must set
forth the specific grounds for objection and your relation to the case. The objection must be received by the
clerk of court at 1050 SW 6th Ave., #700, Portland, OR 97204 by the deadline specified above or it may not
be considered. You must also serve the objection on Wayne Godare, Standing Chapter 13 Trustee, 222 SW
Columbia St., Ste. 1700, Portland, OR 97201 within that same time. If the court sets a hearing, you will
receive a separate notice listing the hearing date, time, and other relevant information.

                                            MOTION TO DISMISS
       Wayne Godare, Standing Chapter 13 Trustee (“Trustee”), moves this Court for an order dismissing this
case due to the failure of Debtor(s) to complete the plan within the sixty-month limit as required by 11 U.S.C. §
1322(d). The sixtieth plan payment was due in April 2018.
        The plan appeared feasible at the time of confirmation. However, Debtor(s) failed to:
               pay to the Trustee all required plan payments
        XX     pay to the Trustee all tax refunds as required by plan ¶1(c)
               provide the Trustee copies of tax returns for tax year(s)
               pay to the Trustee additional income as required by plan ¶
               sell or refinance an interest in real property by
       The amount necessary to pay off the case is approximately $182.72. The Trustee requests the Court
dismiss this case since the plan has run beyond the sixty-month limit and is not complete.
        Dated: April 18, 2019                                      /s/ Wayne Godare, Trustee
      I certify that on April 18, 2019, copies of this Motion were served on Debtor(s) via first class mail, at
1218 NW Prospect Ave., Grants Pass, OR 97526, and on the attorney for Debtor(s) electronically via ECF.
                                                                         /s/ Wayne Godare, Trustee




                         Case 14-37053-pcm13            Doc 105        Filed 04/18/19
